Case 2:04-CV-02429-BBD-tmp Document 23 Filed 08/10/05 Page 1 of 2 , Page|D 28

IN THE U'NITED STATES DISTRICT COURT m BY o'c'

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PATRICIA coLLINs, Wf‘-#"r * ""~"ms

Plaintiff,
4
vs. Civ. No. 04-202Z-Ma[P

JOHN E . POTTER,

Defendant.

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ORDER GRA.NTING PLAINTIFF'S MOTION TO
AMEN'D DEADLINES OF THE SCHEDULING ORDER

 

Before the Court is Plaintiff’s Motion to Amend Deadlines of
the Scheduling Order, filed August 9, 2005 (dkt #20). For good
Cause shown, and defendant having no opposition thereto, the motion
is GRANTED. The scheduling order is amended as follows:

a. Discovery Completion: November 15, 2005

b. Dispositive Motion: December 15, 2005

The November 28, 2005 trial date is cancelled. The district
judge will notify the parties of the new trial date.

IT IS SO ORDERED.

\l/x

TU\M. PHAM\
United States Magistrate Judge

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Date ‘

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with ama 53 and/or 79(a) FHCP un _Y;L&dl

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This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02429 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

